                 Case 2:09-cr-00325-KJM Document
                             UNITED STATES       49 Filed COURT
                                              DISTRICT    11/10/10 Page 1 of 1
                               EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA
                                                        )
         v.                                             )    CR NO: 2:09-cr-325 FCD
                                                        )
DONALD TAYLOR
                                APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                     : Ad Prosequendum                             9 Ad Testificandum.
Name of Detainee:            Donald TAYLOR
Detained at (custodian):         Sacramento County Jail
Detainee is:   a.)    : charged in this district by:
                            : Indictment                     9 Information            9 Complaint
                            Charging Detainee With:          Conspiracy and Bank Fraud
         or    b.)    9 a witness not otherwise available by ordinary process of the Court
Detainee will: a.)    9 return to the custody of detaining facility upon termination of proceedings
       or      b.)    : be retained in federal custody until final disposition of federal charges, as a sentence is
                        currently being served at the detaining facility
Appearance is necessary before the Honorable Judge Frank C. Damrell on November 15, 2010 at 10:00 a.m.
in the Eastern District of California.
                                 Signature: /s/ Matthew D. Segal
                                 Printed Name & Phone No: Matthew D. Segal, phone number: 916-554-2700
                                 Attorney of Record for:   United States of America
                                        WRIT OF HABEAS CORPUS
                          : Ad Prosequendum                          9 Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, November 15, 2010 at 10:00 a.m., and
any further proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee
to the above-named custodian.

November 10, 2010
Date                                                                FRANK C. DAMRELL U.S. District Judge
Please provide the following, if known:
 AKA(s) (if applicable):                                                                  Male :   Female 9
 Booking or CDC #:              09517140 or X-1847500                                     DOB:     12/30/1970
 Facility Address:                Sacramento County Main Jail                             Race:
                                  651 “I” Street, Sacramento                              FBI #:
 Facility Phone:
 Currently Incarcerated For:
                                                RETURN OF SERVICE

Executed on                by
                                                                            (Signature)




Form Crim-48                                                                                           Revised 11/19/97
